                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE:                                                   :       CHAPTER 13
COURTNEY E. ROBINSON                             :
         DEBTOR                                  :
                                                 :       BKY NO.: 18-15085-AMC

                                *        *       *       *       *

                       NOTICE OF MOTION, RESPONSE DEADLINE
                                 AND HEARING DATE

       Courtney E. Robinson, the Debtor, through their attorney, Brandon Perloff, Esquire, has filed a
Motion to Modify Plan (Post-Confirmation).

1.      Your rights may be affected. You should read these papers carefully and discuss them
        with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
        you may wish to consult an attorney.)

2.       If you do not want the court to grant the relief sought in the motion or if you want the court
        to consider your views on the motion, then on or before 3/22/2023 you or your attorney must
        file a response to the Motion. (see Instructions on next page).

3.      A hearing on the Motion is scheduled to be held on 3/29/2023 at 10:00 AM, in Courtroom
        No. 4 of the United States Bankruptcy Court, 900 Market Street, Philadelphia, PA 19107.
        Unless the court orders otherwise, the hearing on this contested matter will be an
        evidentiary hearing. See Also, the Bankruptcy Court's website* for telephonic hearings.

4.      If you do not file a response to the Motion, the court may cancel the hearing and enter an
        order granting the relief requested in the Motion.

5.      You may contact the Bankruptcy Clerk's office for Philadelphia cases at 215-408-2800 and
        for Reading cases at 610-208-5040 to find out whether the hearing has been canceled because
        no one filed a response.

6.      If a copy of the motion is not enclosed, a copy of the Motion will be provided to you if you
        request a copy from the attorney whose name and address is listed on the next page of this
        Notice.




*https://www.paeb.uscourts.gov/
                                 Filing Instructions

7.     If you are required to file documents electronically by Local Bankruptcy Rule 5005-1, you must
       file your response electronically.

8.     If you are not required to file electronically, you must file your response at:

                          Clerk's Office, U.S. Bankruptcy
                          Court Robert N.C. Nix Building
                          900 Market Street, Suite 400
                          Philadelphia, PA 19107

9.     If you mail your response to the bankruptcy clerk's office for filing, you must mail it early
       enough so that it will be received on or before the date stated in Paragraph 2 on the previous
       page of this Notice.

10.    On the same day that you file or mail your Response to the Motion, you must mail or deliver a
       copy of the Response to the movant's attorney:

                          Brandon Perloff, Esquire
                          1830 Lombard Street, 11A
                          Philadelphia, PA 19146


Date: February 26, 2023
